     Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 1 of 18 PageID #: 1




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION

SOUTH DAKOTA BOARD OF REGENTS as
governing board for South Dakota Agricultural
Experiment Station and South Dakota State
University,                                                   CASE NO. ______________
                                                                        5:20-cv-4115

               Plaintiff,
                                                                     COMPLAINT
v.

DISCOUNT SEEDS, INC., and JOHN DOES 1-
25,

               Defendants.


        Plaintiff South Dakota Board of Regents (the “Board of Regents”) as governing board for

the South Dakota Agricultural Experiment Station (“SDAES”) and South Dakota State University

(“SDSU”) brings this action for damages and permanent injunctive relief against Defendants

Discount Seeds, Inc., for their unauthorized sale, conditioning, stocking, and dispensing without

proper notice, of Plaintiff’s proprietary oat varieties, as well as instigating and actively inducing

violations of one or more prohibited acts by others, all in violation of Plaintiff’s rights under the

Plant Variety Protection Act, 7 U.S.C. § 2321 et seq. (“PVPA”). Plaintiff alleges as follows:

                                 JURISDICTION AND VENUE

        1.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1331, as Plaintiff’s claims arise under the laws of the United States, and 28 U.S.C. § 1338, which

provides that district courts have original jurisdiction over any civil action arising under any Act

of Congress relating to plant variety protection.
   Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 2 of 18 PageID #: 2




        2.          Venue is proper in this district pursuant to 28 U.S.C. § 1391, as a substantial part

of the events giving rise to the claims occurred in this district, and most of the Defendants reside

in this district.

                                             THE PARTIES

        3.          The Board of Regents was created to implement the requirements of Section 3,

Article XIV of the South Dakota Constitution, that publicly funded postsecondary institutions be

governed by a board of regents. SDCL § 13-49-1. Constituted as a corporation, or body corporate,

the Board of Regents enjoys the “power to sue and be sued, to hold, lease, and manage, for the

purposes for which they were established, any property belonging to the educational institutions

under its control, collectively or severally, of which it shall in any manner become possessed.”

SDCL § 13-49-11.

        4.          The Board of Regents controls SDAES and SDSU. SDCL §§ 13-58-11 and 13-58-

1, respectively. The Board of Regents encourages institutions under its control to pursue research,

to protect intellectual properties arising from such research and to enter into such agreements as

may be necessary and proper to license or otherwise to provide for the commercial application of

research results. To such ends, it delegated to institutional officers the authority to secure

intellectual property protection in the name of the institution that conducted the research. Board of

Regents Policies 1:6, Section 3.6, and 4:34, Section 7.

        5.          Created in 1887 to implement the Hatch Act as part of South Dakota’s land-grant

institution, SDAES has a mission to conduct research to enhance quality of life in South Dakota

through the beneficial use and development of human, economic, and natural resources. As part

of this effort, SDAES assists oat producers, seedsmen, and researchers to strengthen the oat

industry by creating an oat variety delivery system that promotes stewardship of varieties and
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 3 of 18 PageID #: 3




traits, provides new funds for oat research, and ensures availability of improved oat varieties to

benefit farmers and consumers. SDAES has its principal place of operations in Brookings, South

Dakota. SDCL § 13-58-11.

       6.      Founded in 1881 as a land-grant university, SDSU has been committed to the

academic and professional advancement of all citizens in the state. As part of this effort, SDSU

has a goal to promote, encourage and aid research in the agricultural arena and to provide the

means, methods, and agencies by which inventions and discoveries at SDSU may be patented,

commercialized, or otherwise disposed of for the benefit of the people of South Dakota and society

as a whole. SDCL § 13-58-1.

       7.      Defendant Discount Seeds, Inc. (“Discount”) is an incorporated entity pursuant to

the laws of South Dakota. The registered agent is Heidi A. Fiechtner, 2411 9th Ave. SW,

Watertown, SD 57201. This corporation has the following principal officers and directors:

President Dean Minnerath, Vice President Karen Minnerath, Secretary Heidi Fiechtner, and

Treasurer Jeff Fiechtner. On information, all directors and officers are aware of the conduct alleged

in this lawsuit for infringement of Plaintiff’s federally protected varieties by diversion of grain for

use a seed, sales of unauthorized seed for planting, and widespread illegal and unauthorized

transfers of seed oats between farmers in the region. By virtue of such knowledge and direction,

each officer and director shares individually in the infringement liability. Additional officers and

directors are likely John Does, but out of an abundance of caution, Plaintiff has not named them

without additional discovery in this first complaint.

       8.      Defendants John Doe 1-25 are (i) downstream customers who purchased

unauthorized PVPA-protected seed from or through Discount or other distributors connected to

Defendant; (ii) conditioners who cleaned unauthorized PVPA-protected oats for Discount or
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 4 of 18 PageID #: 4




others; and (iii) other persons otherwise acting in concert with Discount in the illegal operations

and diversion.

                              STATEMENT OF CLAIM
                     PLANT VARIETY PROTECTION REGISTRATION

       9.        This action arises under the Plant Variety Protection Act, 7 U.S.C. § 2321 et seq.,

which provides patent-like protection to breeders of certain varieties, and their assignees, who may

acquire the right to prevent others from selling the variety or offering the variety for sale for a

period of twenty (20) years. 7 U.S.C. § 2483.

       10.       On December 29, 2015, SDAES made application to the Plant Variety Protection

Office pursuant to 7 U.S.C. § 2421 for protection of another novel variety of oat it had developed

known as the “Hayden” oat variety.

       11.       On November 28, 2016, a PVP Certificate for the Hayden variety was issued to

SDAES pursuant to 7 U.S.C. § 2482 under the seal of the Plant Variety Protection Office and was

recorded in the Plant Variety Protection Office. Certificate No. 201600054 is not scheduled to

lapse until November 28, 2036. The PVP Certificate for Hayden is attached as Exhibit 1.

       12.       On March 1, 2013, SDAES made application to the Plant Variety Protection Office

pursuant to 7 U.S.C. § 2421 of the PVPA for protection of another novel variety of oat it had

developed known as the “Horsepower” oat variety.

       13.       On March 30, 2015, a PVP Certificate for the Horsepower variety was issued to

SDAES pursuant to 28 U.S.C. § 2482 under the seal of the Plant Variety Protection Office and

was recorded in the Plant Variety Protection Office. Certificate No. 201300160 is not scheduled

to lapse until March 30, 2035. The PVP Certificate for Horsepower is attached as Exhibit 2.

       14.       Plaintiff additionally has PVP rights to many other varieties including Natty,

Goliath, Shelby 427, among others. All such certificates of protection are valid and subsisting.
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 5 of 18 PageID #: 5




       15.      The PVP Certificates for Plaintiff’s oat varieties, including the Hayden,

Horsepower, Goliath, Natty, Shelby 427 and Stallion varieties, all specified that the seed of the

respective varieties could only be sold in the United States as a class of certified seed, meaning

that before sale for planting purposes, the seed had to be certified by an approved governmental or

private agency as to variety and purity. This added step is known as a Title V election under the

Federal Seed Act, 7 U.S.C. § 1611. See also 7 U.S.C. § 2483(a)(2)(A).

       16.      The PVP Certificates for each of Plaintiff’s oat varieties at issue in this lawsuit were

and remain in full force and effect during the time period of alleged infringement of each respective

variety. Additional varieties may be revealed in discovery when identifying the John Doe upstream

providers, downstream purchasers, and contributors to the illegal operation and diversion of grain

for planting.

       17.      At all times relevant herein, each Defendant had actual notice and knowledge that

Plaintiff’s oat varieties were federally protected by the PVPA.

       18.      Title 7, Section 2541 of the United States Code provides that it is an infringement

of the owner’s rights in a protected variety, inter alia, to sell the variety without authorization of

the owner or to dispense the variety to another in a form that can be propagated without notice that

it is a protected variety. Section 2541 also provides that it is an infringement to use the variety for

propagation without the owner’s authorization; to stock, condition, ship, or consign the protected

variety without authority; or to instigate or actively induce any act that constitutes an infringement.

       19.      Title 7, United States Code Section 2563 provides that a court may grant an

injunction to prevent violations of rights under the PVPA. Section 2564 provides that upon a

finding of infringement, the court shall award damages adequate to compensate for the

infringement, but in no event less than a reasonable royalty together with interest and costs.
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 6 of 18 PageID #: 6




Section 2564 also provides that the court may increase the damages up to three times the amount

determined, and, in exceptional cases, the court may award reasonable attorney’s fees to the

prevailing party under § 2565.

       20.       Title 7, United States Code Section 2543 provides a crop exemption for growers

and other persons that permits a bona fide sale of a protected variety into usual grain channels (i.e.,

for feed purposes), but § 2543 does not exempt from PVPA protection the sale of grain of a

protected variety for use as seed for reproductive purposes without the authorization of the plant

variety owner.

       21.       Title 7, United States Code Section 2543 further provides that if a purchaser diverts

a protected variety from usual grain channels to use for reproductive purposes, that purchaser is

deemed to have notice under § 2567 that its actions constitute an infringement of the PVPA for

purposes of a damages action by the owner of the protected variety.

       22.       Discount clearly diverted its inventory for planting purposes as proven following

an arms-length investigation into Defendant Discount’s operations during the 2019 crop and

planting season.

                              DISCOUNT SEED’S OPERATIONS

       23.       At all times relevant herein, each Defendant had actual notice and knowledge that

Plaintiff’s oat varieties were federally protected by the PVPA.

       24.       Plaintiff’s representatives have personally visited Discount’s operations and

discussed at length the importance of Plaintiff protecting intellectual property rights. Plaintiff’s

representatives have sent formal cease and desist letters and notices to Discount, on several

occasions.
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 7 of 18 PageID #: 7




       25.     On October 2, 2015, Discount was given specific notice that it’s past conduct

constituted PVPA infringement in Plaintiff’s letter, authored by Dean Kevin D. Kephart, Vice

President for Research and Economic Development for South Dakota State University. See Exhibit

3. In the letter, Plaintiff memorialized Discount’s acknowledgement of a Cease and Desist letter

sent previously by Plaintiff and invited a personal meeting to discuss the legality of Discount’s

operations.

       26.     In a December 10, 2015 in-person meeting with Discount’s officers and Registered

Agent Jeff Feichtner and Heidi Fiechtner, Dean Kevin Kephart and others from SDSU itemized

and detailed the results of a Department of Agriculture seed test analyses relating to various Stop

Orders issued against Discount. The South Dakota Department of Agriculture’s Stop Orders

prohibited the sale of incorrectly labeled and packaged oat seed. The scientific analyses supporting

such Stop Orders also revealed how Discount was selling Plaintiff’s oat varieties in an

unauthorized manner. At the in-person meeting, the attendees discussed multiple errors by

Discount in handling, marketing, marking, bagging, and selling federally protected seed. Plaintiff

described oat seed infringements and gave specific examples of glaring problems Discount must

correct going forward to avoid a lawsuit.

       27.     During that in-person meeting, both Feichtners acknowledged and apologized for

their mishandling of Plaintiff’s varieties and indicated there would not be future issues in

Discount’s handling of seed.

       28.     During that in-person meeting, Plaintiff discussed its obligation to pursue

infringement claims and expressly cautioned Discount against the use of non-PVP varieties for

forage planting, explaining how Discount needed to comply with the laws.
  Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 8 of 18 PageID #: 8




         29.   In concluding the meeting, Plaintiff discussed its willingness to answer any

questions. At that time, the Feichtners, as authorized agents and principals of Discount, and also

in their individual capacity, acknowledged their personal understanding of certified seed and the

PVPA prohibitions against sales for planting.

         30.   Discount understands PVPA protections are ubiquitous for oat seed—a major

spring-sown, small grain crop. To illustrate, in a 2015 study which was conducted by researchers

with Iowa State University Northern and Northeast Research Farms in Kanawha and Nashua, as

reported by www.practicalfarmers.org, of the sixteen (16) oat varieties reported to have been

planted and studied in Iowa, all sixteen (16) were federally protected by the PVPA. See table,

below:
   Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 9 of 18 PageID #: 9




        31.    Because Discount actively markets Plaintiff’s oat varieties to its region and

customers, it was also aware that the seed being planted by its customers was federally protected

under the PVPA.

        32.    Discount had actual, specific, repeated, and in-person notice that the oat varieties it

was selling were federally protected.

                    DEFENDANTS’ WILLFUL VIOLATIONS OF PVPA

        33.    Discount has direct and personal knowledge of the Plant Variety Protection Act and

the protections and limitations surrounding use of Plaintiff’s, and others’ federally protected

varieties.

        34.    In the 2019 harvest season, Discount bought the harvest of federally protected oat

seed and intentionally, knowingly, and with no mistake thereafter re-sold and offered for sale

Plaintiff’s protected oat varieties to producers for planting, on multiple occasions.

        35.    Discount, having multiple officers who themselves are experienced seedsmen and

operators of commercial seed operations that utilize oats that are protected by the Plant Variety

Protection Act, was factually aware of the strict protocols and requirements necessary before Title

V, PVPA-protected oats may be sold legally for seeding purposes.

        36.    Discount actively markets “Seed Oats” having the “Finest Quality.” The bags of

seed do not have proper notices, proper seed testing information, nor do the bags identify the

federally protected status of the varietal contents of such bags.

        37.    The bags do not properly identify that Plaintiff’s federally protected varieties are

contained in such bags. Below is a photograph depiction of Discount’s brown bags. The

photograph was obtained in connection with Plaintiff’s 2019 investigation into Discount’s

operations.
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 10 of 18 PageID #: 10




        38.     Discount sold and offered for sale very large quantities of the “Seed Oats” that were

cleaned and sold or offered for sale to the public with no PVPA adherence nor quality restrictions.

Below is a true and correct photo depicting a large warehouse of large amounts of cleaned oats

bagged and labeled as “Seed Oats,” yet none of the bags complied with proper seed labeling laws

nor were they authorized to be sold as uncertified varieties. Plaintiff’s varieties are legally required

to be sold as a class of certified seed.




        39.     At all times relevant to the complaints herein, Plaintiff only authorized sales of its

protected varieties with written notice containing statutorily designated language signifying that

the seed was protected under the PVPA, that unauthorized propagation or multiplication of the
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 11 of 18 PageID #: 11




seed was prohibited, and that the use of the seed by the purchaser was authorized only for purposes

of growing a commercial crop of grain. Plaintiff required such notice on all bags of its protected

oat varieties sold and on notices accompanying all bulk sales of such oat seed for planting. In

addition, Plaintiff consistently and prominently marked the varieties with statutory PVPA notices

on its marketing and promotional materials for such varieties.

       40.     Discount sold the grain it had diverted from usual grain channels through a practice

known as “brown bagging,” in which a person or entity uses grain grown from proprietary seed

and prepares it for use as seed without authorization of the owner of the proprietary seed. In some

areas of the country, the grain is repackaged in seed bags, often brown or sometimes white.

       41.     The seed purchased by the investigator from Discount was sent for scientific testing

and the results confirmed the oats sold to the investigator in this brown-bagged manner were

Plaintiff’s federally protected seed.

       42.     The seed purchased by the investigator from Discount was purchased at a premium

rate above the price of grain, but such price was far below the price of certified seed, thereby

creating a clear incentive to deprive Plaintiff of its rightful royalty and harming the area authorized

seed dealers from sales otherwise available to them.

       43.     This is not an isolated incident. Discount resells for propagation purposes such

uncertified and unauthorized seed further downstream to producers when it is time to plant oat

seed in South Dakota, and possibly other nearby states. It has done so for a long time.

             JOHN DOES - DOWNSTREAM CUSTOMERS OF ILLEGAL SEED

       44.     Without authorization, Discount sold Plaintiff’s protected seed varieties to many

different customers. All such unauthorized transactions constitute violations of Plaintiff’s rights

under the PVPA by both parties to the transaction, and the downstream buyers are continuing the
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 12 of 18 PageID #: 12




infringement due to the self-replicating nature of seed. Such use should be enjoined, at the very

minimum. Depending on the use by the downstream buyer, there may be additional infringements

by the propagation of such illegal seed.

                                 COUNT I
               DAMAGES FOR INFRINGEMENT PER 7 U.S.C. § § 2541(a)

       45.     Plaintiff incorporates by reference the allegations set forth in the foregoing

paragraphs.

       46.     Without authorization from Plaintiff, Defendants stocked Plaintiff’s protected

varieties for purposes in violation of the PVPA.

       47.     Without authorization from Plaintiff, Defendants conditioned Plaintiff’s protected

varieties for propagation purposes in violation of the PVPA.

       48.     Without authorization from Plaintiff, Defendants sold Plaintiff’s protected varieties

for the purpose of propagation in violation of the PVPA.

       49.     Without authorization from Plaintiff, Defendants dispensed Plaintiff’s protected

varieties, in a form which can be propagated, without restriction to other growers, in violation of

the PVPA.

       50.     Without authorization from Plaintiff, Defendants instigated and actively induced

infringement under the PVPA by engaging in the illegal seed business described above, in violation

of the PVPA.

       51.     Without authorization from Plaintiff, Discount actively diverted grain back into

seeding channels and is deemed to have notice that such conduct violates the PVPA.

       52.     Without authorization from Plaintiff, Discount willfully and deliberately infringed

the PVPA by the foregoing acts.
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 13 of 18 PageID #: 13




       53.    Defendants’ actions constitute an infringement of Plaintiff’s rights under 7 U.S.C.

§ 2541, for which all Defendants are accountable in damages.

       54.    As a result of Defendants’ actions, Plaintiff has suffered harm for which it is entitled

to damages, including without limitation:

              a) Compensation for Defendants’ unauthorized sale, use, and condition of

                  Plaintiff’s protected varieties in an amount not less than a reasonable royalty,

                  per 7 U.S.C. § 2564(a);

              b) Damage to Plaintiff’s reputation or the reputations of Plaintiff’s protected

                  varieties by the unauthorized sale of said varieties which were not produced in

                  accordance with Plaintiff’s practices and standards; and

              c) Expenses incurred or reasonably expected to be incurred as a direct result of

                  Plaintiff’s actions to recover seed or grain grown from Defendants’

                  unauthorized purchase, use, and sale of seed, and/or expenses incurred in

                  identifying and notifying persons who purchased seed of Plaintiff’s protected

                  varieties from Defendants that such seed was not produced by or in accord with

                  the standards of Plaintiff and that any grain grown from such seed is protected

                  by the PVPA, cannot be grown for any purpose other than as commercial grain

                  crop, and cannot be held out as seed of any of Plaintiff’s protected varieties.


                                   COUNT II
                      INJUNCTION PURSUANT TO 7 U.S.C. § 2563

       55.    Plaintiff incorporates by reference the allegations set forth in the foregoing

paragraphs.

       56.    Plaintiff is entitled to the following injunctive relief pursuant to 7 U.S.C. § 2563 :
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 14 of 18 PageID #: 14




              a) Permanently enjoining any further sales or other disposition by Defendants of

                 grain grown from Plaintiff’s PVPA-protected varieties for reproductive

                 purposes;

              b) Requiring the ultimate destruction of all oats of Plaintiff’s protected varieties in

                 Defendants’ possession or control to prevent future illegal harvests from being

                 replanted;

              c) Allowing for access to Defendants’ facilities and premises, including leased

                 lands, to identify the scope of the infringing conduct at a time when the crops

                 remain in the field, thereafter permitting the crops to grow, harvest, and then

                 store in constructive trust while the suit proceeds;

              d) Requiring the disclosure of the names and addresses of all persons or entities

                 who purchased oat seed from, supplied oat seed to, conditioned oat seed for, or

                 stored oat seed for or with Defendants, to allow the parties to identify the scope

                 of the illegal replanting and allow the parties sufficient time to give adequate

                 notice to those persons or entities of their opportunity to be heard, with the

                 ultimate goal to allow the crop, once identified, to be harvested and stored in

                 constructive trust while the suit proceeds; and

              d) Requiring an accounting of all revenues and profits Defendants derived from

                 the sale, use and conditioning of Plaintiff’s protected varieties.


                                 COUNT III
                     TREBLE DAMAGES AND ATTORNEYS’ FEES

       57.    Plaintiff incorporates by reference the allegations set forth in the foregoing

paragraphs.
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 15 of 18 PageID #: 15




         58.    Defendants knew or recklessly disregarded the fact that by brown bagging the grain

in question and selling it for reproductive purposes they were infringing federal intellectual

property rights.

         59.    Defendants knowingly sold the brown-bagged seed for planting at a substantial

discount compared to the price authorized dealers charged for certified seed. They intentionally

set their pricing to divert sales from authorized channels for their own profit.

         60.    Defendants knowingly and intentionally caused substantial damage to Plaintiff and

recklessly placed Plaintiff at substantial risk of further misuse of its seed by placing the seed in

commerce without notice of its protected status.

         61.    As the result of Defendants’ actions, Plaintiff has incurred substantial damages,

attorney’s fees, and costs, and will in the future incur additional damages, attorney’s fees, and

costs.

         62.    Defendants’ actions constitute an exceptional case for which the award of

attorney’s fees are recoverable pursuant to 7 U.S.C. § 2565.

         63.    Treble damages are appropriate pursuant to 7 U.S.C. § 2564(b) of the PVPA.

         64.    Plaintiff does not seek a jury trial.

                                       RELIEF DEMANDED

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         a)     Awarding Plaintiff compensation for damages resulting from the infringement in

                an amount not less than a reasonable royalty, and trebled;

         b)     Ordering permanent injunctive relief:
 Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 16 of 18 PageID #: 16




                 i.   Directing Defendants to make no further sales for reproductive purposes of

                      any oats or wheat for which Plaintiff holds PVPA protection without

                      express authorization from Plaintiff;

                ii.   Directing Defendants to identify all storage facilities and suppliers of wheat

                      and oat seed;

               iii.   Requiring Defendants to account for all acquisitions, uses and sales of

                      federally protected wheat and oats, including the names and addresses of all

                      suppliers and purchasers and the quantity so purchased or sold.

       c)     Awarding pre-judgment and post-judgment interest;

       d)     Awarding Plaintiff its attorneys’ fees, costs, and expenses incurred in this action;

              and

       e)     Awarding such other relief as the Court may deem just and proper.

Dated this 6th day of August, 2020.


                                      _/s/_Justin J. Goetz_______________________
                                      Justin J. Goetz, Assistant General Counsel
                                      South Dakota State University
                                      Morrill Hall 234, Box 2201
                                      Brookings, SD 57007
                                      Telephone: (605) 688-5248
                                      Email:justin.goetz@sdstate.edu
                                      South Dakota Bar License No.: 4247
Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 17 of 18 PageID #: 17




                            Mark Murphey Henry, Ark. #97170
                            HENRY LAW FIRM
                            P.O. Box 4800
                            Fayetteville, Arkansas 72702
                            Telephone: (479) 368-0555
                            Email: mark@henry.us
                            Applying Pro Hac Vice – Motion to Follow

                            Counsel for Plaintiff South Dakota
                            Board of Regents, as governing board
                            for South Dakota Agricultural Experiment
                            Station and South Dakota State University
                     Case 4:20-cv-04115-KES Document 1 Filed 08/06/20 Page 18 of 18 PageID #: 18
JS 44 (Rev. 09/19)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
South Dakota Board of Regents                                                                                Discount Seeds, Inc.
South Dakota State University                                                                                John Does 1-25
South Dakota Agricultural Experiment Station
    (b) County of Residence of First Listed Plaintiff             Brookings                                   County of Residence of First Listed Defendant              Codington
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)
Justin Goetz - South Dakota State University - Morrill Hall 234, Box                                         Steven Morgans - Myers Billion, LLP - 230 S. Phillips Ave., Ste. 300;
2201, Brookings, SD 57007 - (605) 668-5248                                                                   P.O. Box 1085, Sioux Falls, SD 57104 - (605) 336-3700


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF       DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1       ’ 1       Incorporated or Principal Place       ’ 4     ’ 4
                                                                                                                                                         of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2    ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3    ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158          ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                 ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                       3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                  ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                 ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                     ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 835 Patent - Abbreviated       ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                     New Drug Application       ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                                                    ’ 840 Trademark                        Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud              ’ 710 Fair Labor Standards          ’ 861 HIA (1395ff)                     (15 USC 1681 or 1692)
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending                Act                          ’ 862 Black Lung (923)           ’ 485 Telephone Consumer
’   190 Other Contract                       Product Liability        ’ 380 Other Personal           ’ 720 Labor/Management              ’ 863 DIWC/DIWW (405(g))               Protection Act
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage                 Relations                    ’ 864 SSID Title XVI             ’ 490 Cable/Sat TV
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 740 Railway Labor Act             ’ 865 RSI (405(g))               ’ 850 Securities/Commodities/
                                     ’   362 Personal Injury -              Product Liability        ’ 751 Family and Medical                                                   Exchange
                                             Medical Malpractice                                            Leave Act                                                     ’ 890 Other Statutory Actions
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 790 Other Labor Litigation          FEDERAL TAX SUITS              ’ 891 Agricultural Acts
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:               ’ 791 Employee Retirement           ’ 870 Taxes (U.S. Plaintiff      ’ 893 Environmental Matters
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                 Income Security Act                  or Defendant)             ’ 895 Freedom of Information
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                  Act
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609               ’ 896 Arbitration
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                       ’ 899 Administrative Procedure
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                          Act/Review or Appeal of
                                             Employment                 Other:                       ’ 462 Naturalization Application                                           Agency Decision
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration                                              ’ 950 Constitutionality of
                                             Other                    ’ 550 Civil Rights                   Actions                                                              State Statutes
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                  ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           7 U.S.C. § 2321 et. seq.
VI. CAUSE OF ACTION Brief description of cause:
                                           PVPA infringement action.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         ’ Yes      ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
08/06/2020                                                              /s/ Justin J. Goetz
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE

                 Print                               Save As...                                                                                                                  Reset
